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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Richmond Di vision

ATLANTIC COAST PIPELINE, LLC,
               Plaintiff,

          V.                                                   Lead Case No.      3:17-cv-00814-JAG
                                                          Underlying Case No.     2: 18-cv-00106-JAG
                                                          Underlying Case No.     3:18-cv-00041-JAG
                                                          Underlying Case No.     3:18-cv-00067-JAG

1.52 ACRES, MORE OR LESS, IN NOTTOWAY
COUNTY, VIRGINIA, et al.,
                 Defendants.

                                              OPINION

        Atlantic Coast Pipeline, LLC ("Atlantic"), seeks to exercise its eminent domain powers

pursuant to Section 7(h) of the Natural Gas Act, 15 U.S.C. § 717f(h). Between January 18, 2018

and February 23, 2018, Atlantic filed its Complaints in Condemnation to acquire certain easements

for the three underlying cases. Atlantic subsequently served the defendants named in the three

underlying cases personally or through publication. On August 16, 2018, the Clerk entered default

against all the defendants who have failed to respond in these underlying cases ("Non-Responding

Defendants").    Atlantic filed its Motion for Default Judgment against the Non-Responding

Defendants on August 20, 2018.

       As a natural gas company in possession of a certificate of public convenience and necessity

from the Federal Energy Regulatory Commission, Atlantic may condemn the property interests at

issue in this litigation and is thus entitled to have default judgment granted in its favor against the

Non-Responding Defendants. On September 20, 2018, the Court held a bench trial to determine

the just compensation owed to the Non-Responding Defendants for the property condemned.
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                                              I. FACTS

        After the bench trial, the Court finds ·the following facts:

  A. Atlantic Is a Natural Gas Company in Possession of a Certificate of Public Convenience
                              and Necessity Issued by tl,e FERC

        Atlantic is an interstate natural gas company as defined by Section 2(a) of the Natural Gas

Act, 15 U.S.C. § 717 et seq. Atlantic is subject to the jurisdiction of the Federal Energy Regulatory

Commission ("FERC") and is authorized to construct, own, operate, and maintain pipelines for the

transmission of natural gas in interstate commerce. See 15 U.S.C. § 717. See Dk. No. 125-1,

Memo. in Supp. of Atlantic's Mot. for Default J., Ex. 1, Deel. of Jedidiah Spratt ("Spratt Deel.")



        Atlantic is in the process of constructing an approximately 600-mile underground pipeline

and related facilities for the purpose of transporting natural gas from West Virginia to Virginia and

North Carolina (the "ACP Project"). See Spratt Deel. 1 5.

        The ACP Project will measure approximately 42 inches in diameter in West Virginia and

Virginia, and 36 inches in diameter in North Carolina. Certain extensions of the ACP Project will

measure 20 inches in diameter from Northampton County, North Carolina to the City of

Chesapeake, Virginia and 16 inches in diameter in Brunswick County, Virginia and Greensville

County, Virginia. See Spratt Deel.    1 8.   Natural gas transported by the ACP Project will serve

multiple public utilities. See Spratt Deel. 1 9.

       Atlantic filed an application for a certificate of public convenience and necessity with

FERC on September 18, 2015, FERC Docket No. CP15-554-000, in which it sought permission

to construct the ACP Project and attendant facilities. On October 13, 2017, FERC issued a

certificate of public convenience and necessity (the "FERC Certificate") authorizing Atlantic to

construct and operate the ACP Project. (Comp. Ex. 2). See Spratt Deel. 1 IO; see also Spratt Deel.,


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Ex. A, the October 13, 2017 Certificate of Public Convenience and Necessity Issued by the Federal

Energy Regulatory Commission-to Atlantic.

            B. Atlantic Seeks to Condemn Certain Property Rights from the Defendants

          Each of the Non-Responding Defendants for each underlying matter owns a property

interest in the certain tracks of land sought to be condemned by Atlantic. See Compl. 1 16, Dk.

No. 1 (2:18-cv-00106-JAG); Compl. 117, Dk. No. 1 (3:18-cv-00041); Compl. 116, Dk. No. 1

(3: 18-cv-00067). Atlantic filed its Complaints in Condemnation to acquire certain easements from

the Non-Responding Defendants for the three underlying matters. See Compl. 1 2, Dk. No. 1

(2:18-cv-00106-JAG); Compl. 12, Dk. No. 1 (3:18-cv-00041); Compl. 12, Dk. No. 1 (3:18-cv-

00067).

          Specifically, Atlantic seeks to construct a portion of the ACP Project on the Properties

described in detail below. The ACP Project cannot be constructed until Atlantic acquires certain

permanent easements (the "Permanent Easements") and temporary easements (the "Temporary

Easements") (collectively the "Easements") on the Properties. The Easements are necessary for

constructing, maintaining, operating, altering, testing, replacing, and repairing the ACP Project.

See Dk. No. 1, 1 16 (2: 18-cv-00106-JAG); Dk. No. 1, 1 17 (3: 18-cv-00041 ); Dk. No. 1, 1 16 (3: 18-

cv-00067).

       The Permanent Easements to be taken on each Property include a permanent and exclusive

easement and right-of-way to construct, operate, maintain, replace, repair, remove or abandon the

ACP Project and appurtenant equipment and facilities, as well as the right to change the location

of the installed pipeline within the area of the Permanent Easement as may be necessary or

advisable. See Compl. 118, Dk. No. 1 (2:18-cv-00106-JAG); Compl. 119, Dk. No. 1 (3:18-cv-

00041); Compl. 118, Dk. No. 1 (3:18-cv-00067).



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          The Temporary Easements will enable Atlantic to construct the ACP Project and engage

in restoration or clean-up activities. The Temporary Easements are requested as of the date of

authorized entry onto the Property and their use is required until all work, including restoration, is

complete. The Temporary Easements will be effective and condemned for a period not to exceed

five (5) years following Atlantic's possession of the Easements. See Compl. , 19, Dk. No. 1,

(2:18-cv-00106-JAG); Compl. ,20, Dk. No. 1 (3:18-cv-00041); Compl., 19, Dk. No. 1 (3:18-cv-

00067).

                          1. Underlying Case Number 2:18-cv-00106-JAG

       The defendants the Unknown Heirs of Asberry Melton and the Unknown Heirs of David

H. Melton own real property located in City of Chesapeake, Virginia, in the Deep Creek Borough,

as is more particularly described as Parcel Identification No. 0340000001800, as is more

particularly described as on that certain Plat filed in Map Book 143, Page 97 among the land

records of the City of Chesapeake, Virginia, and comprised of 5.159 acres, more or less (the

"Melton Property"). See Compl., 5, Dk. No. 1 (2:18-cv-00106-JAG).

       Atlantic attempted to negotiate to acquire Easements over the Melton Property for the

purpose of the construction of an interstate natural gas pipeline. See Spratt Deel.,, 12-14. There

are two landowners who have already settled with Atlantic for the Melton Property.               The

remaining, active defendants in this case are unknown heirs who collectively have a 28.58%

ownership interest in the Melton Property. Atlantic, despite negotiation efforts, has been unable

to acquire by contract, or has been unable to agree with the remaining defendants as to the

compensation to be paid for, the necessary easements to construct, operate, and maintain a pipeline

for the transportation of natural gas.




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        The area and dimensions of the Easements Atlantic seeks to condemn on the Melton

Property are depicted in Exhibit 4 to the Complaint in Condemnation. See Campi., Ex. 4, Dk. No.

1-4 (2:18-cv-00106-JAG); see also Atlantic's Trial Exhibit No. 3.

                         2. Underlying Case Number 3:18-cv-00041-JAG

        The defendants Glinda D. Ford, Naomi R. Waddy, Willie R. Foster, Casey L. Foster,

Lawanda D. Pryor, Latisha S. Gordon, Shanna N. Gordon, Larry D. Vaughan, Francis L. Vaughan~

Harold Edward Foster, Jr., J.F., and the Unknown Heirs of Willie Raymond Foster may own real

property located in Nottoway County, Virginia, as is more particularly described as Parcel

Identification No. 20-7, as is more particularly described in Deed Book 259, Page 591 of the public

records of said County (the "Miles Property"). See Comp 1.         11 5-6,   Dk. No. 1 (3: l 8-cv-00041-

JAG).

        Atlantic attempted to negotiate to acquire Easements over the Miles Property to construct

an interstate natural gas pipeline. See Spratt Deel.   11 12-14.   There are 13 landowners who have

already settled with Atlantic for the Miles Property. The remaining, active defendants in this case

are known landowners who collectively have a 21.13% ownership interest. Atlantic, despite

negotiation efforts, has been unable to acquire by contract, or has been unable to agree with the

remaining defendants as to the compensation to be paid for, the necessary easements to construct,

operate, and maintain a pipeline for the transportation of natural gas.

        The area and dimensions of the Easements Atlantic seeks to condemn on the Miles Property

are depicted in Exhibit 4 to the Complaint in Condemnation. See Compl., Ex. 4, Dk. No. 1-4 (3: l 8-

cv-00041-JAG); see also Atlantic's Trial Exhibit No. 11.




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                         3. Underlying Case Number 3:18-cv-00067-JAG

       The defendants the Unknown Heirs of Floyd Green and the Unknown Heirs of Vernell L.

Bland own real property located in Nottoway County, Virginia, as is more particularly described

as (1) Parcel Identification 20-97 (GPIN 6509-84-9864), composed of 38 acres, more or less, as is

more particularly described in that certain deed recorded in Deed Book I 04, Page 248 among the

land records of Nottoway County, Virginia (the "20-97 Parcel") and (2) Parcel Identification No.

20-10 (GPIN 6509-75-3258), composed of 5.0 acres, more or less, as is more particularly described

in that certain deed recorded in Deed Book 36, Page 482 (the "20-10 Parcel") (the aforementioned

parcels are collectively referred to as the "Green Property"). See Comp I. ~ 5, Dk. No. 1 (3: 18-cv-

00067-JAG).

       Atlantic attempted to negotiate to acquire Easements over the Green Property to construct

an interstate natural gas pipeline. See Spratt Deel.   ~~   12-14. There are 21 landowners who have

already settled with Atlantic for the Green Property. The remaining, active defendants in this case

are unknown heirs who collectively have a 35.8% ownership interest. Atlantic, despite negotiation

efforts, has been unable to acquire by contract, or has been unable to agree with the remaining

defendants as to the compensation to be paid for, the necessary easements to construct, operate,

and maintain a pipeline for the transportation of natural gas.

       The area and dimensions of the Easements Atlantic seeks to condemn on the Green

Property are depicted in Exhibit 4-A and 4-B to the Complaint in Condemnation. See Compl., Ex.

4-A, 4-B, Dk. No. 1-7, 1-8 (3:18-cv-00067-JAG); see also Atlantic's Trial Exhibit No. 8.

 C. None of the Defendant Landowners Responded to Atlantic's Complaint in Condemnation ·

       Atlantic has properly served process on the Non-Responding Defendants and filed the

appropriate affidavits of service and certificates of proof by publication. See Dk. No. 124. The



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Non-Responding Defendants have not filed ·any responsive pleading and are thus in default. See

Dk. No. 117. Without gaining full access and rights from the Non-Responding Defendants to the

Easements that are necessary to the ACP Project, Atlantic cannot timely complete construction of

the ACP Project.

                                 II. PROCEDURAL HISTORY

                           A. Underlying Case Number 2:18-cv-00106

       Atlantic filed its Complaint in Condemnation in the above-captioned matter on February

23, 2018. See Dk. No. 1 (2:18-cv-00106-JAG). On March 7, 2018, the Court consolidated this

underlying case with the lead case. See Dk. No. 8 (2:18-cv-00106-JAG). The Clerk of the Court

entered default against the Non-Responding Defendants in this underlying case on August 16,

2018. See Dk. No. 117. On August 20, 2018, Atlantic's filed a Motion for Default Judgment

against the Non-Responding Defendants. See Dk. No. 124.

                           B. Underlying Case Number 3:18-cv-00041

       Atlantic filed its Complaint in Condemnation in the above-captioned matter on January 18,

2018. See Dk. No. 1 (3:18-cv-00041-JAG). On February 21, 2018, the Court granted Atlantic's

Motions for Partial Summary Judgment and for Immediate Access, upon Atlantic's payment of

bond. See Dk. No. 24 (3:18-cv-00041-JAG). On March 5, 2018, Atlantic deposited a cash bond

with the Court in the amount of$15,000. On March 7, 2018, the Court consolidated this underlying

case with the lead case. See Dk. No. 28 (3:18-cv-00041-JAG). Atlantic did not request an entry

of default for Harold Edward Foster, Jr. because this defendant is mentally incompetent. Atlantic

filed a motion to appoint a guardian ad liteni for this defendant on August 10, 2018. See Dk. No.

103. Further, Atlantic did not request an entry of default for J .F. because J .F. is a minor born in

2009 and consequently filed a motion to appoint a guardian ad litem for J.F. See Dk. No. 113.



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The Clerk of the Court entered default against the Non-Responding Defendants in this underlying

case on August 16, 2018. See Dk. No. 117. On August 30, 2018, the Court appointed Matthew J.

Yao, Esq. to represent the interests of Harold Edward Foster, Jr., and J.F. as their guardian ad

litem. See Dk. Nos. 130, 132. On August 20, 2018, Atlantic's filed a Motion for Default Judgment

against the Non-Responding Defendants. See Dk. No. 124. On September 18, 2018, the guardian

ad litem filed an answer and report on behalf of J.F. and Harold Edward Foster, Jr. See Dk. Nos.

156, 157.

                           C. Underlying Case Number 3:18-cv-00067

       Atlantic filed its Complaint in Condemnation in the above-captioned matter on January 31,

2018. See Dk. No. 1 (3:18-cv-00067-JAG). On February 21, 2018, the Court granted Atlantic's

Motions for Partial Summary Judgment and for Immediate Access, upon Atlantic's payment of

bond. See Dk. No. 12 (3:18-cv-00067-JAG). On March 5, 2018, Atlantic deposited a cash bond

with the Court in the amount of $66,072.00. On March 7, 2018, the Court consolidated this

underlying case with the lead case. See Dk. No. 16 (3:18-cv-00067-JAG). The Clerk of the Court

entered default against the Non-Responding Defendants in this underlying case on August 16,

2018. See Dk. No. 117. On August 20, 2018, Atlantic's filed a Motion for Default Judgment

against the Non-Responding Defendants. See Dk. No. 124.

                                       III. DISCUSSION

                                      A. Default Judgment

       Under Rule 12(a) of the Federal Rules of Civil Procedure, a defendant must serve an answer

within 21 days after being served with the summons and complaint. Rule 55 of the Federal Rules

of Civil Procedure provides for the entry of a default judgment when "a party against whom a

judgment for affirmative relief is sought has failed to plead or otherwise defend." A defendant in



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default admits the factual allegations in the complaint. See Fed. R. Civ. P. 8(b)(6) ("An allegation

-    other than one relating to the amount of damages -       is admitted if a responsive pleading is

required and the allegation is not denied."); see also GlobalSantaFe Corp. v. Globalsantafe.com,

250 F. Supp. 2d 610, 612 n.3 (E.D. Va. 2003) ("Upon default, facts alleged in the complaint are

deemed admitted and the appropriate inquiry is whether the facts as alleged state a claim."). As a

result of the Non-Responding Defendants failure to respond, the Clerk of the Court entered default

against them on August 16, 2018. See Dk. No. 117.

                               B. Atlantic Has tJ,e RigJ,t to Condemn

              1. The Natural Gas Act Provides Atlantic with the Authority to Condemn

         The Natural Gas Act provides Atlantic with the authority to condemn interests in property

where (i) Atlantic is the holder of a certificate of public convenience and necessity from FERC

and (ii) Atlantic and the landowner cannot agree on the compensation for the property interest at

stake:

         When any holder of a certificate of public convenience and necessity cannot acquire
         by contract, or is unable to agree with the owner of property to the compensation
         to be paid for, the necessary right-of-way to construct, operate, and maintain a pipe
         line or pipe lines for the transportation of natural gas ... it may acquire the same
         by the exercise of the right of eminent domain in the district court of the United
         States for the district in which such property may be located, or in the State courts.

15 U.S.C. § 717f(h).

                 2. Atlantic Has a Certificate of Public Convenience and Necessity

         The FERC Certificate issued to Atlantic gives Atlantic the unequivocal power of eminent

domain, which includes the power to condemn any land, including the Easements, which is

necessary for the construction of the ACP Project.

         No fact can genuinely be in dispute as to the issuance of the FERC Certificate or the

contents therein because a certificate of public convenience and necessity is a matter of public


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record and not subject to collateral attack. See E. Tenn. Nat. Gas, LLC v. 1.28 Acres, No. 1:06-cv-

00022, 2006 U.S. Dist. LEXIS 24450, at *36-37 (W.D. Va. Apr. 26, 2006) (holding that the

defendants could not use a condemnation action to review the propriety of the issuance of a FERC

certificate) (citing Williams Nat. Gas Co. v. Oklahoma City, 890 F .2d 25 5, 264 (10th Cir. 1989),

cert. denied, 497 U.S. 1003 (1990)); see also Am. Energy Corp. v. Rockies Express Pipeline LLC,

No. 2:09-cv-284, 2009 U.S. Dist. LEXIS 59972, at *9 (S.D. Ohio July 14, 2009) (holding that "a

district court lacks jurisdiction to review the validity and/or conditions of a FERC certificate ...

[and] the function of the district court is not to provide appellate review, but rather to provide for

enforcement").

           Here, just as in 1.28 Acres, Atlantic has satisfied the first condition of Section 717f(h)

because FERC granted Atlantic a Certificate of Public Convenience. Based on the language of the

FERC Certificate and controlling case law, Atlantic has the power of eminent domain under the

Natural Gas Act and the right to the easements by eminent domain.

                         3. The Easement Rights Atlantic Seeks Are Necessary

       Atlantic must acquire the Easements in order to install, construct, and maintain the ACP

Project.     See Spratt Deel. , 7.    The FERC-approved route for the ACP Project crosses the

Properties. See Dk. No. 1-4 (2: 18-cv-00106-JAG); see also Atlantic's Trial Exhibit No. 3; Dk.

No. 1-4 (3:18-cv-00041-JAG); see also Atlantic's Trial Exhibit No. 11; Dk. No. 1-7, 1-8 (3:18-cv-

00067-JAG); see also Atlantic's Trial Exhibit No. 8. The ACP Project cannot be constructed

without the Easements.        See Spratt Deel. , 16. Thus, the Easements are necessary for the

construction of the ACP Project, entitling Atlantic to partial summary judgment on its right to

condemn the Easements. See Transcon. Gas Pipeline Co., LLC v. Permanent Easement Totaling

2.322 Acres, No. 3:14-cv-00400-HEH, 2014 U.S. Dist. LEXIS 122588, at *11 (E.D. Va. Sept. 2,



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2014) ("Additionally, the FERC Certificate[] ... establishes that the property condemned in this

matter is necessary for the construction, operation, and maintenance of the pipeline at issue.");

Hardy Storage Co. v. Prop. Interests Necessary to Conduct Gas Storage Operations, No.

2:07CV5, 2009 U.S. Dist. LEXIS 18124, at *13-14 (N.D. W. Va. Mar. 9, 2009) (finding that a

landowner's challenge to the necessity of the proposed easement constitutes an impermissible

collateral attack).

                 4. Atlantic Cannot Acquire the Necessary Easements by Contract

        Atlantic has been unable to reach an agreement with the Owners on the amount of

compensation for the Easements. See Spratt Deel. 11 12-15. Atlantic started negotiations to

acquire the Easements in 2016. See Spratt Deel. 1 13. Atlantic, however, has been unable to obtain

the remaining interest in the Easements by contract. See Spratt Deel. 115; Hardy, 2009 U.S. Dist.

LEXIS 18124, at *16 (finding that "[the condemnor] is not required by the [NGA] or Rule 71.1 to

engage in 'good faith' negotiations with the landowner"); E. Tenn. Natural Gas, 2006 U.S. Dist.

LEXIS 24450, at *28-29 (concluding that "[a]ll the [NGA] requires is a showing that the plaintiff

has been unable to acquire the property by contract or has been unable to agree with the owner of

the property as to the compensation to be paid").

                       5. The Non-Responding Defendants Are in Default

        The named Non-Responding Defendants have failed to file an answer or response in the

time period required pursuant to Section 12(a) of the Federal Rules of Civil Procedure.      As a

result, the Clerk of the Court entered default for the Non-Responding Defendants on August 16,

2018. See Dk. No. 117. Accordingly, Atlantic is entitled to an order confirming its right to

condemn the Non-Responding Defendants' Properties pursuant to the authority conferred by 15

U.S.C. § 717f(h) and default judgment against the Non-Responding Defendants. See, e.g., E. Tenn.



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Nat. Gas Co. v. Sage, 361 F.3d 808, 827-28 (4th Cir. 2004) (citing cases); Columbia Gas

Transmission Corp. v. An Easement to Construct, Operate, and Maintain a 24-lnch Transmission

Pipeline Across Properties in Greene Cty., Va., 2007 U.S. Dist. LEXIS 55422, at *9-10 (W.D. Va.

July 31, 2007) (granting judgment where Columbia had established that it was a holder of a FERC

certificate and no agreement with respect to just compensation could be reached); Nw. Pipeline

Corp. v. The 20' x 1,430' Pipeline Right of Way Easement 50' x 1,560' Temp. Staging Area, 197

F. Supp. 2d 1241, 1243-44 (E.D. Wash. 2002) (granting summary judgment as to validity of

taking); Tenn. Gas Pipeline Co. v. New England Power, C.T.L., Inc., 6 F. Supp. 2d 102, 104 (D.

Mass. 1998) (granting motion for partial summary judgment where the condemnor satisfied the

elements of Section 717f(h)).

       Atlantic has established that it holds a FERC Certificate and that it has been unable to reach

an agreement with the Non-Responding Defendants with respect to the Easements, there can be

no dispute that Atlantic has stated a legitimate claim and is entitled to condemn the Non-

Responding Defendants' Properties. See Columbia Gas Transmission, LLC v. 0.85 Acres, More

or Less, in Harford Cty., Md., 2014 U.S. Dist. LEXIS 125318, at * 17 (D. Md. Sept. 8, 2014)

(granting Columbia's Motion for Partial Summary Judgment where the court determined that

requirements of Section 717f(h) were met); Columbia Gas Transmission, LLC v. 370.393 Acres,

More or Less, in Baltimore County, Md, 2014 U.S. Dist. LEXIS 144055, at *15-16 (D. Md. Oct.

9, 2014) (same).

                                 IV. JUST COMPENSATION

       The only issue remaining is the just compensation that is owed to the remaining, active

defendants-made up of the Non-Responding Defendants and the defendants Harold Edward

Foster and J.F. Harold Edward Foster, Jr. and J.F. are each represented by the guardian ad litem,



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Matthew J. Yao, Esq. Atlantic offered evidence about the properties discussed above (the "Subject

Properties") and the areas of the taking from each individual property, and the rights for the

Easements that Atlantic seeks to condemn. See supra, Part IV,§ B(i)-(iv).

       The landowners have the burden of proving, by a preponderance of the evidence, the

amount of just compensation owed for the easements condemned by Atlantic. United States ex

rel. Tenn. Valley Auth. v. Powelson, 319 U.S. 266, 273 (1943); Bank of Edenton v. United States,

152 F.2d 251, 253 (4th Cir. 1945); Vector Pipeline LP v. 68.55 Acres of Land, 157 F. Supp. 2d

949, 952 (N.D. Ill. 2001). Just compensation is measured from the point of view of the landowner.

The yardstick is what a landowner has lost, not what Atlantic has gained. Boston Chamber of

Commerce v. City ofBoston, 217 U.S. 189, 195 (191 0); see also United States v. Causby, 328 U.S.

256, 261 ( 1946) ("It is the owner's loss, not the taker's gain, which is the measure of the value of

the property taken."). Courts apply the objective standard of fair market value to determine what

the landowner has lost when its property is condemned. United States v. 564.54 Acres of Land,

441 U.S. 506, 511 (1979). Fair market value is defined as the fair and reasonable amount which

could be attained in the open market at a voluntary sale. Id.

       Where a taking is temporary in duration rather than permanent, then the condemning

authority "essentially takes a leasehold in the property," and "the value of the taking is what rental

the marketplace would have yielded for the property taken." United States v. Banisadr Bldg. Joint

Venture, 65 F.3d 374,378 (4th Cir. 1995). If the condemnor is the only party to admit evidence

to the Court of the value of the real property taken, the Court may use that evidence to determine

the just compensation of the property and enter default judgment against defendant landowners

and award the defendants their just compensation as determined by the condemnor. See Gulf




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Crossing Pipeline Co. LLC v. 86.36 Acres, No. 08-689, 2009 U.S. Dist. LEXIS 4612, at *14-15

(W.D. La. Jan. 23, 2009).

       Here, Atlantic offered evidence at trial as to the value of the Easements condemned through

its valuation expert, Corey Sell, and the appraisals that Mr. Sell prepared for each of the Subject

Properties. Atlantic offered the appraisal of (a) the Melton Property as Atlantic's Trial Exhibit

No. 19; (b) the Miles Property as Atlantic's Trial Exhibit No. 22; and (c) the Green Property as

Atlantic's Trial Exhibit Nos. 20 and 21. The appraisals for each of the Subject Properties are

proper evidence for the determination of just compensation for the Subject Properties. See 86.36

Acres, 2009 U.S. Dist. LEXIS 4612, at *14-15.

                                    A. TJ,e Melton Property

       The Melton Property comprises 5.159 total acres of vacant residential land. The site will

be encumbered by a proposed 50-foot-wide Permanent Easement encompassing 0.190 acre and a

proposed Temporary Easement encompassing 0.100 acre. Of this proposed 0.190-acre Permanent

Easement, 0.080 acre will overlap an existing transmission line easement, and 0.010 acre of the

Temporary Easement will overlap the existing powerline easement. The value of the Permanent

Easement on Melton Property is $1,466.00, that the damages to the remainder of the Melton

Property is $0.00, and that the total market rent for the Temporary Easement on the Melton

Property is $695.00-making the total appraised value of the Melton Property $2,161.00. The

remaining defendants are unknown heirs with a collective 25.58% interest in the parcel.

Accordingly, the just compensation for the Melton Property is $617.62.

                                     B. The Miles Property

       The Miles Property comprises 11. 97 total acres of vacant land utilized as vacant

woodlands. The site will be encumbered by a portion of a proposed 50-foot-wide Permanent



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Easement encompassing 0.002 acre and a proposed Temporary Easement encompassing 0.06 acre.

The value of the Permanent Easement on the Miles Property is $7 .00, the damages to the remainder

of the Miles Property is $0.00, and the total market rent for the Temporary Easement on the Miles

Property is $135.00-making the total appraised value of the Miles Property $142.00. Excluding

Harold Foster, Jr. and J.F., the remaining defendants have a 17.1 % ownership interest in the Miles

Property. Accordingly, the just compensation for the Miles Property is $24.29.

       The GAL's answer on behalf of Harold Edward Foster, Jr., recommends that the Court

accept and approve the settlement amount of $250.00 offered by Atlantic to Foster. The GAL's

answer on behalf of J.F., a minor, recommends that the Court accept and approve the settlement

amount of $250.00.

                                     C. The Green Property

       The Green Property is made up of two parcels: (a) the 20-97 Parcel which comprises 38.00

total acres of vacant land utilized for woodlands and timber purposes; and (b) the 20-10 Parcel

which comprises 5.00 total acres of vacant woodlands. The 20-97 Parcel will be encumbered by

a proposed 50-foot-wide Permanent Easement encompassing 1.48 acres and a proposed

Temporary Easement encompassing 2.58 acres.          The 20-10 Parcel will be encumbered by a

proposed 50-foot-wide Permanent Easement encompassing 1.65 acres and a proposed Temporary

Easement encompassing 2. 66 acres.

       The value of the Permanent Easement on the 20-97 Parcel is $1,998.00, the damages to the

remainder of the 20-97 Parcel is $0.00, and the total market rent for the Temporary Easement on

the 20-10 Parcel is $2,320.00-making the total appraised value for the 20-97 Parcel $4,318.00.

The value of the Permanent Easement on the 20-10 Parcel is $5,816.00, the damages to the

remainder of the 20-10 Parcel is $5,640.00, and the total market rent for the Temporary Easement



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on the 20-10 Parcel is $6,250.00-making the total appraised value for the 20-10 Parcel

$17,706.00. The total appraised value for the entire Green Property is $22,024.00. The defendants

have a collective ownership interest of 35 .8% in each parcel. Accordingly, the just compensation

for the 20-97 parcel is $1,545.85, and the just compensation for the 20-10 parcel is $6,338.75. The

total just compensation for the Green Property, therefore, is $7,884.60.

                                        V. CONCLUSION

        For the foregoing reasons, the Court will grant Atlantic's motion for default judgment

against the Non-Responsive Defendants in the three underlying cases. After Atlantic pays just

compensation to the Non-Responsive Defendants, Atlantic may take immediate possession of the

Easements across the Subject Properties identified in its Complaints in Condemnation for the three

underlying cases.

        The Court will enter an appropriate Order.

        Let the Clerk send a copy of this Opinion to all counsel of record.




Date:
        Richmond, Virginia                                             /s/ .
                                                       John A. Gibney, Jr.
                                                       United States District Judge




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